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                           UNITED STATES DISTRICT COURT
                            for the District of New Jersey [LIVE]
                                         Newark, NJ


 WEDPENS DORSAINVIL
                                    Plaintiff,
 v.                                                 Case No.: 2:15−cv−03035−ES−JAD

 STUART L. PEIM, et al.
                                    Defendant.



 WEDPENS DORSAINVIL
 CAROLINE DETENTION CENTER
 #20−0398
 P.O. BOX 1460
 BOWLING GREEN,VIRGINIA 22427


 Dear Litigant:
    Enclosed please find a copy of the Order granting your application for appointment
 of pro bono counsel.
      K. ROGER PLAWKER has been appointed as your counsel.
      Counsel's address is as follows:

                    PASHMAN STEIN WALDER HAYDEN
                           21 MAIN STREET
                              SUITE 200
                         COURT PLAZA SOUTH
                        HACKENSACK, NJ 07601


    Please be advised, pursuant to Paragraph 9(a) of Appendix H of the Local Rules of
 this Court, if this action is one for which compensation for legal services becomes
 available to the appointed counsel by statute, it may be deducted from any recovery.
 Any statutory fee award may only be made by the Court upon application of counsel.



                                                 Very truly yours,
                                                 William T. Walsh, Clerk
                                                 By Deputy Clerk, ps


 cc: District Judge, Magistrate Judge, Counsel of Record
